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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
    LISA CALVENTE,                     )
                                       )
                   Plaintiff,          )
                                       )    Case No.: 1:20-cv-03366
          v.                           )
                                       )    Judge John Robert Blakey
    SALMA GHANEM and DEPAUL            )
    UNIVERSITY,                        )
                                       )
                   Defendants.         )


      DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO CONTINUE THE
            DEADLINE TO RESPOND TO DEFENDANTS’ COMBINED
                    MOTION FOR SUMMARY JUDGMENT


         1.        Defendants do not object to Plaintiff’s Motion to Continue Deadline to Response

to the Defendants’ Combined Motion for Summary Judgment [Dkt No.56] (“Motion to Continue

Deadline”),1 provided Defendants’ deadline for filing Reply papers is likewise continued as set

forth below.2

         2.        Given the two interceding holidays between Plaintiff’s Response papers and

Defendants’ Reply papers, and DePaul’s winter recess from December 23, 2021 through January

2, 2022, Defendants propose January 31, 2022 as the date for their Reply papers.

         3.        Further, Defendants seek clarification on the Court’s November 17, 2021 Order.

[Dkt. No. 42.] In granting Defendants’ Motion to Exceed Page Limits and Statements of Fact, this

Court ordered that “Plaintiff may similarly exceed the page and statement of fact limits when she


1
  Plaintiff argues merits and procedural issues in her Motion to Continue Deadline, at notes 1 and 2. Given
that the Motion to Continue Deadline is not the appropriate vehicle for those arguments, Defendants will
respond to those arguments in appropriate filings made by motion, or response or reply thereto as the case
may be.
2
  Plaintiff did not confer with Defendants regarding this Motion to Continue Deadline.


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files her response and cross motion on 12/10/21.” Defendants understand this Order grants

Plaintiff up to 30 pages in any Memorandum of Law in Support of her Cross Motion for Summary

Judgment, if she files,3 and up to 160 paragraphs in her 56.1(a) Statement of Undisputed Material

Facts. What remains unclear to Defendants is the number of Local Rule 56.1(b) Statements of

Additional Undisputed Material Facts (which is usually limited to 40), Plaintiff may file.

Clarification from the Court on the 56.1(b) filing would be helpful.



                                               Respectfully submitted,

                                               By: /s/ Anneliese Wermuth
                                                       Attorney for Defendants, Salma Ghanem and
                                                       DePaul University
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3
  In her Motion to Continue Deadline, Plaintiff only seeks an extension on her Response to Defendants’
Combined Motion for Summary Judgment. Defendants understand that as a result, any Cross Motion for
Summary Judgment Plaintiff submitted by Plaintiff must still be filed by December 10, 2021, as set forth
in the Court’s current Scheduling Order [Dkt. No. 30].

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                                CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on November 22, 2021 she electronically

filed the foregoing with the Clerk of the United States District Court for the Northern District of

Illinois using the ECF system, which will send notification of such filing to the following counsel

of record:

                                      Fitzgerald T. Bramwell
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                                             s/ Anneliese Wermuth
                                             Anneliese Wermuth




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